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                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
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IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
------------------------------------------------------------ X

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                 PLAINTIFFS’ CERTIFICATE OF SERVICE OF
       NOTICE OF CONTINUATION OF ORAL DEPOSITION OF DEFENDANT
            THROUGH DESIGNATED WITNESS REGARDING TVT-E

       I hereby certify that on May 22, 2013, I served Plaintiff’s Notice of Continuation of Oral

Deposition of Defendant through Designated Witness Regarding TVT-E via email and the

foregoing document was electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification of such filing to the CM/ECF participants registered to

receive service in this MDL.

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